Case 3:10-cv-01138-PGS-LHG Document 235 Filed 01/04/19 Page 1 of 1 PageID: 11009




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                                                                                Jonathan L. Shaw
         December 20, 2018                                                      267.402.3044 direct
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         VIA ECF

     The Honorable Peter G. Sheridan,
                                          U.S.D.J.
     United States District Court for the
                                          District of New Jersey
     Clarkson S. Fisher Building & U.S.
                                         Courthouse
     402 East State Street
     Trenton, New Jersey 08608

     Re:    Hargrove, et al. v. Sleepy’s, LLC, Cas
                                                   e No. 3:10-cv-01138-PGS-LHG
     Dear Judge Sheridan:

    We represent Sleepy’s, LLC in the
                                           above-referenced matter. On Octobe
    a suggestion of bankruptcy (ECF                                                    r 8, 2018, Sleepy’s filed
                                           227), and on November 1, 2018,
    terminated this matter pending the                                             this  Court administratively
                                            conclusion of the bankruptcy (ECF
                                                                                    231).
    In light of the Delaware Bankruptcy
                                             Court’s Order dated November 16,
    part, that Plaintiffs’ claims shall                                               2018, which provides, in
                                        be permitted to proceed unimpaire
   paid or resolved by a court of com                                          d  until  such time as they are
                                             petent jurisdiction, Plaintiffs filed
   Restore this Matter to the Active Doc                                             a Motion to Reopen and
                                             ket with this Court on December 6,
                                                                                      2018 (ECF 232).
   On behalf of Sleepy’s, LLC, we agr
                                          ee with the Plaintiffs that reopening
   at this time                                                                     this matter is appropriate

   Respectfully submitted,



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   Jonathan L. Shaw
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   cc:      Theo E.M. Gould, Esq.
            Matthew J. Hank, Esq.
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